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 4
     Attorney for WENDELL STEWART,
 5   Defendant
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 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  )   No. CR.S-06-441-GEB
                                                )
12                       Plaintiff,             )   STIPULATION AND ORDER AMENDING
                                                )   JUDGMENT
13         v.                                   )
                                                )
14   WENDELL STEWART,                           )
                                                )
15                       Defendant.             )
                                                )
16                                              )
17
18         It is hereby stipulated and agreed by and between the parties hereto, through their
19   respective counsel, that the Judgment imposed by this Court on defendant Wendell Stewart on
20   March 30, 2012, shall be amended to change the term of supervised release, as follows:
21   “Upon release from imprisonment, the defendant shall be placed on supervised release for a
22   term of 12 months on each of Counts 1 and 2, to be served concurrently for a total term of 12
23   months.”
24         This change is requested by the Probation Office to conform to the provisions of 18
25   U.S.C. §3624(e) and U.S.S.G. §5G1.2, Application Note C. In all other respects the Judgment
26   shall remain the same.
27                                                   ///
28                                                  ///


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 1   Dated: April 10, 2012                           /s/ Candace A. Fry
                                                    CANDACE A. FRY, Attorney for
 2                                                  WENDELL STEWART, Defendant
 3
 4   Dated: April 10, 2012                    BENJAMIN WAGNER
                                              United States Attorney
 5
                                              By     /s/ Candace A. Fry for
 6                                                  JILL THOMAS, Assistant
                                                    United States Attorney
 7
                                                    (Signed for Ms. Thomas with
 8                                                  her prior authorization)
 9
10                                        ORDER
11
12         IT IS SO ORDERED.
13   Dated: April 10, 2012

14
15                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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